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                        IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                       Plaintiff,

v.                                                                   No. 94-CR-741 JB


LAVONNE JOE,

                       Defendant.

                     UNOPPOSED MOTION TO DISMISS PETITION
                     FOR REVOCATION OF SUPERVISED RELEASE

        The Defendant Lavonne Joe (Mr. Joe), through undersigned counsel, respectfully moves

the Court to dismiss the pending Petition for Revocation of Supervised Release. In support of

this motion, Mr. Joe states as follows:

     1. On March 31, 2021, the Government filed a Petition for Revocation of Supervised

Release. The basis for said petition was a misdemeanor criminal complaint, filed in Bernalillo

County Metropolitan Court (Case No. T-4-DV-2021-00935), alleging that Mr. Joe committed the

offense of Criminal Damage to Property, a petty misdemeanor. The factual allegation was that

Mr. Joe had broken a window at the apartment of his ex-girlfriend. The ex-girlfriend was not

present at the apartment at the time of the alleged offense, and thus was not a witness to the

alleged vandalism. Mr. Joe pled not guilty and was preparing to contest the allegation at trial.

     2. On August 6, 2021, rather than proceed to trial as had been requested by Mr. Joe, the

State of New Mexico dismissed its case against Mr. Joe. As such, there is no longer any criminal

case pending against Mr. Joe, and he was not convicted or adjudged guilty of any offense.
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    3. The Government bears the burden of proof for a finding that a defendant violated his

terms of supervised release continues to be a "preponderance of the evidence" standard. 18

U.S.C. § 3583(e)(3). Based on the dismissal of the Bernalillo County Metropolitan Court case

and the fact that said case was the sole basis for the filing of the Petition for Revocation of

Supervised Release, a good faith basis exists to support a finding that Mr. Joe did not violate his

conditions of supervised release. As such, pursuant to the Court’s authority as governed by Fed.

R. Crim. P. 32.1 and 18 U.S.C. § 3583, Mr. Joe respectfully requests the dismissal of said

petition.

    4. Mr. Joe is not in custody. He has a stable residence, is gainfully employed, and has been

compliant with his conditions of release.

    5. AUSA David Cowan and U.S. Probation Officer do not oppose this motion.

        WHEREFORE, the Defendant Lavonne Joe respectfully requests that this Court dismiss

the pending Petition for Revocation of Supervised Release, that Defendant be continued on

supervised release on conditions previously set and agreed to by the parties, and for such other

and further relief that this Court deems just and proper.



                                               Respectfully Submitted:


                                               By: /s/ Joe M. Romero, Jr.
                                               Joe M. Romero, Jr.
                                               ROMERO & WINDER, PC
                                               Attorney for Defendant
                                               P.O. Box 22543
                                               Albuquerque, NM 87125-5543
                                               Phone: (505) 843-9776
                                               Fax: (505) 212-0273
                                               joe@romeroandwinder.com




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                                CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on the 12th day of August 2021, I filed the foregoing
electronically through the CM/ECF system, and served the same to opposing counsel, AUSA
David Cowan.
By:    /s/ Joe M. Romero, Jr.
       Joe M. Romero, Jr.




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